Case No. 1:22-cv-01866-GPG-SKC Document 74-16 filed 09/11/23 USDC Colorado pg 1
                                    of 3




                 Exhibit 39 to
  The Governor’s Motion for Summary Judgment


          Declaration of Senator Rhonda Fields




            Gates et al. v. Polis, No. 1:22-cv-1866-GPG-SKC (D. Colo.)
                               September 11, 2023
Case No. 1:22-cv-01866-GPG-SKC Document 74-16 filed 09/11/23 USDC Colorado pg 2
                                    of 3




                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-CV-1866-GPG-SKC

  BENJAMIN GATES,
  TRAVIS SWARTZ,
  KARL HONEGGER, and
  NATIONAL FOUNDATION FOR GUN RIGHTS, INC.
       Plaintiffs,
  v.
  JARED S. POLIS, in his official capacity as Governor of the State of Colorado,
       Defendant.

                            DECLARATION OF SEN. RHONDA FIELDS

            I, Sen. Rhonda Fields, pursuant to 28 U.S.C. § 1746, state as follows:

            1.     My name is Rhonda Fields, and I represent Senate District 28 in the Colorado

  Senate.

            2.     I have served in the Colorado General Assembly since 2010, first in the Colorado

  State House, and now in the Colorado Senate.

            3.     I first became active in politics after my son and his fiancée were the victims of

  gun violence in 2005. Since then, I have introduced, passed, and advocated for legislation to help

  protect our communities from gun violence.

            4.     One of those was H.B. 13-1224, the large-capacity magazine ban. I was the lead

  sponsor of H.B. 13-1224 in the Colorado State House.

            5.     I introduced H.B. 13-1224 in response to the growing number of mass shootings

  both in Colorado and across the country. Specifically, the bill was introduced in response to the

  Aurora Theater shooting in July 2012, in which a gunman armed with multiple large-capacity

  magazines killed 12 and injured 70.
Case No. 1:22-cv-01866-GPG-SKC Document 74-16 filed 09/11/23 USDC Colorado pg 3
                                    of 3




         6.      After Aurora, I knew that something needed to be done to address these mass

  shootings. By limiting magazine capacity, the LCM Ban gives potential victims of a mass

  shooting time to flee, fight, or hide during the pause that happens when an assailant goes to

  reload a spent magazine.

         7.      Large-capacity magazines help single gunmen injure multiple innocent people in

  a short amount of time. From what I understand, this was not a problem legislatures faced for

  most of our nation’s history. But it is a problem now, and the LCM Ban is a common-sense

  solution to help limit mass shootings.

         I declare under penalty of perjury that the foregoing is true and correct.




  Executed on ____August 30, 2023___

                                                ___/s/ Rhonda Fields________________________
                                                       Sen. Rhonda Fields




                                                   2
